                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                     Plaintiff,

          vs.                                                      Case No. 16-cr-21

SAMY M. HAMZEH,

                     Defendant.


                                   MOTION TO SEAL

       Samy Hamzeh, by counsel, pursuant to General Local Rule 79(d), hereby requests

that the Court file and maintain under seal the attached exhibits filed today. The grounds

for this request are that the exhibits are covered by the parties’ protective order.

       Dated at Milwaukee, Wisconsin this 4th day of October, 2019.

                                          Respectfully submitted,

                                          /s/     Craig W. Albee
                                          Craig W. Albee, WI Bar #1015752
                                          Joseph A. Bugni, WI Bar #1062514
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                                                                        Federal Defender Services
                                                                               of Wisconsin, Inc.
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